                                                          U.S. DEPARTMENT OF JUSTICE
                                                          Federal Bureau of Prisons
                                                          Metropolitan Correctional Center


                                                         /50 Park Row
                                                         Nell' fork. New l'ork 10007



 September 16, 2020

 Honorable H. Bruce Guyton
 Chief United States Magistrate Judge
 United States District Court
 Eastern District of Tennessee at Knoxville
 800 Market Street, Suite 142
 Knoxville, Tennessee 37902

 Re:  CHARLES MICHAEL BEATTY
 REGISTER NUMBER: 24521-050
 CRIMINAL NUMBER: 3:20-mj-2136-HBG

 Dear Chief Judge H. Bruce Guyton:

 We are in receipt of your Cou1t Order pursuant to Title 18, United States Code, Sections 4241(6), dated
 July 7, 2020, in the case of Mr. Charles Michael Beatty.

 Mr. Beatty was designated at the Metropolitan Correctional Center (MCC), New York, on August 31, 2020.
 Consistent with the admission procedures for all newly-designated detainees, he was placed on
 quarantine/isolation status due to the COVID-19-pandemic in order to screen for any potential symptoms
 of the coronavirus. Mr. Beatty was cleared from quarantine/isolation status on September 11, 2020, such
 that the forensic evaluation commenced on September 14, 2020, the next business date following his
 removal from isolation/quarantine status. In order to provide the Comt with a comprehensive and thorough
 report, we generally ask for 30 days from the date of arrival; however, given the nationwide lockdown
 procedures amidst the current pandemic, we respectfully request an additional 15 days as permitted by the
 statute. Thus, the evaluation would conclude on October 28, 2020. The report will be prepared and
 provided to the Court within two weeks after the conclusion of the evaluation, by November 11 , 2020.

 If the Court requires an expedited evaluation, we will make every effort to accommodate. Thank you for
 your consideration in this matter.

 Sincerely,                               R        ue.:;, \-- G- r V'l-01 ,;:- D
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                                          Honorable H. Bruce Guyton

                                       Chief United States Magistrate Judge
                                       United States District Court                          SEP 2 5 2020
                                       Eastern District of Tennessee at Knoxville
                                       800 Market Street, Suite 142                  Clerk, U.S. District Court
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                                       Knoxville, Tennessee 37902
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